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                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

      Timothy Jackson,

                           Plaintiff,

      v.

      Laura Wright, Milton B. Lee, Melisa
      Denis, Mary Denny, Daniel Feehan,
      A.K. Mago, Carlos Munguia, and G.
      Brint Ryan, each in their official
                                                     Case No. 4:21-cv-00033-ALM
      capacities as members of the Board of
      Regents for the University of North Texas
      System; Rachel Gain; Ellen Bakulina;
      Andrew Chung; Diego Cubero; Steven
      Friedson; Rebecca Dowd Geoffroy-
      Schwinden; Benjamin Graf; Frank
      Heidlberger; Bernardo Illari; Justin
      Lavacek; Peter Mondelli; Margaret
      Notley; April L. Prince; Cathy Ragland;
      Gillian Robertson; Hendrik Schulze;
      Vivek Virani; and Brian F. Wright,
      Defendants.



           AFFIDAVIT OF TIMOTHY JACKSON IN SUPPORT OF HIS OPPOSITION TO
                          DEFENDANTS' MOTION TO DISMISS

    I, Timothy Jackson, do hereby depose and swear the following upon my oath based
    upon my direct knowledge and experience:

             1.   I am the Plaintiff in the above-captioned civil action. I am a

    Distinguished University Research Professor of Music Theory, and Full Professor of

    Music Theory at the University of North Texas.

             2.   The University of North Texas, acting through the Board of Regents

    Defendants Laura Wright, Milton Lee, Melissa Denis, Mary Denny, Daniel Feehan,

    A.K. Mago, Carlos Munguia, and G. Brint Ryan, as well as through other state actors


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    employed by the University of North Texas (collectively, UNT), have caused me to be

    removed from the Journal of Schenkerian Studies (Journal), which I founded in 2005

    and have served tirelessly as part of its editorial board and staff. UNT has staged a

    hostile takeover of the Journal.

           3.     The government of the State of Texas defends these actions in its

    Motion to Dismiss by arguing that I somehow agreed with the recommendations of a

    so-called Ad Hoc Panel, which convened to investigate me and the Journal after the

    publication of a special Symposium in the Journal on July 24, 2021. The government

    of the State of Texas does not point out the reason I agreed.

           4.     Some changes are now necessary because UNT has stripped me and

    the Journal of any of the university's nominal protections for free speech and

    academic freedom. This was plainly stated in my Response to the Ad Hoc Panel.

    (See Dk#1-23 at JACKSON000274-275.)

           5.     For example, I stated:

            The current controversy demonstrates that the Journal can no
            longer succeed with a student editor. It must be protected from
            attack by the kinds of specious and untrue accusations that have
            been leveled against it -- and against me. Only a senior, tenured
            faculty member can withstand baseless accusations of "editorial
            mismanagement" when unpopular opinions are published.

    Id. at JACKSON000275.

           6.     Instead of protecting academic freedom, UNT has now excluded me

    from the Journal completely. First, Provost Jennifer Cowley announced her rejection

    of my suggestions for the protection of the Journal from state censorship and

    announced the reorganization of the Journal (Exhibit A). Second, UNT announced a

    new search committee for the editor of the Journal, which completely excludes me

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    (Exhibit B) and any other senior Schenkerian scholar of national and international

    reputation in the field of Schenkerian Analysis. It is my belief, on the information I

    have, that the primary criterion UNT used to select this search committee is its

    appointees' dedication to the prevailing illiberal orthodoxy of UNT and their

    commitment to censor the Journal's content accordingly. One of the members of

    this so-called search committee is a political scientist with no qualifications in the

    field of music theory whatsoever: John Ishiyama. His only qualification is that he

    presided over the pretextual Ad Hoc Panel.

           7.     UNT took over the Journal in response to my publication of free and

    open scholarship in the Journal Symposium of Volume 12. This has caused me

    extreme reputational harm. My work and career require me to teach at the graduate

    and undergraduate level in music theory. I am also required to research and publish

    in my areas of expertise and on matters of public concern, both nationally and

    internationally. I also direct the Center for Schenkerian Studies (Center), where the

    Journal was housed. The Journal and Center are my life's work.

           8.     As an example of the harm done to me and my reputation, UNT has

    caused me to become a pariah among the graduate students in music theory, among

    whom I traditionally taught more than almost any other professor in our Division.

           9.     Before UNT's retaliation against me, my graduate students had earned

    PhD's and secured jobs in music theory worldwide, including some former student

    editors of the Journal. Now, even students who have expressed sympathy with my

    predicament have explained that they may not work with me for fear of associating

    with a professor baselessly accused of "racism." Since they fear UNT's retaliation as


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    well, they refuse to work with me. Levi Walls is a prime example, having been

    pressured into renouncing his work as student editor as well as his intellectual

    interests and preposterously claiming to be a "whistleblower" to show his

    obsequiousness to the mob. Another doctoral student worked with me, and I served

    as this student's advisor, I helped the student study for and pass their doctoral

    exams, and I worked on the student's dissertation project until the semester after

    the controversy erupted. This student will no longer work with me. Another

    graduate student worked with me both in classes and outside of classes. I was this

    student's academic advisor until about three weeks ago. That student changed

    advisors because of fear of repercussions. I will not mention their names due to the

    repressive and retaliatory environment at UNT.

           10.    My reputation and career are dependent upon and advanced by my

    achievements, with other scholars, through the Center and Journal. These

    achievements have also reflected admirably upon the reputation of the University.

           11.    Until defamatory allegations, endorsed by the faculty and by UNT, that

    I had engaged in "racist behaviors" and "racist actions" by doing nothing other than

    publishing free and open scholarship, UNT praised the activities of the Journal and

    Center, which even attracted a Grammy nomination. Now the Center and Journal

    are prevented from engaging in the scholarship that they have advanced for almost

    20 years.

           12.    UNT has also defunded the Journal and Center and blocks the

    Journal's further publication pending its hostile take over. Articles in the pipeline

    are therefore obstructed. The Journal and Center traditionally receive the allocation


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    of one graduate student assistant. This has now been withdrawn. These resources

     not only benefited the community; they were also direct benefits to me and my

    work.

            13.   My advancement and evaluation as a professor and the assessment of

    the Center depend upon peer evaluation from the faculty, almost all of whom have

    now signed defamatory statements calling for me to be fired, the Journal closed, and

    the Center canceled. Any unbiased evaluation of my career achievements or job

    performance is therefore no longer possible given the commitment of UNT to

    defamatory and biased statements and its expressed intent to retaliate against me

    and others for the exercise of protected speech.

            14.   My career depends upon the ability to publish and speak freely on

    matters of public concern. In the course of my career, I have published extensively

    in the best journals in my field. However, due to UNT's actions, my publication is

    now obstructed in venues in which I was previously able to publish. One example is

    the Journal of Music Theory, which is the Yale Department of Music's music theory

    journal, which has now censured me and the Journal.

            15.   Part of UNT's retaliation has also been its express refusal to follow its

    own policies and procedures, which purport to protect and guarantee academic

    freedom and free speech. UNT provides grievance procedures for faculty who face

    retaliation for the exercise of academic freedom and free speech. However, UNT has

    repeatedly refused to accept my grievances submitted through proper channels, as I

    explained in my first Affidavit submitted in this case. (Dk#1-1, ¶¶ 110-117.)
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           16.      Instead, UNT formed a pretextual, so-called "ad hoc panel" to

    condemn me individually (and no one else) and further harm my reputation in

    response to my scholarship.



    SIGNED UNDER THE PENALTIES OF PERJURY THIS 12th DAY OF APRIL 2021




                                                   Timothy Jackso




    Sworn before me this 12th Day of April 2021,
    and in witness of which I hereby set my hand,

                                                                        SUDESHNA SINGH
         y Public                                                    Notary ID #132068082
                                                                     My Commission Expires
                                                                         June 26, 2023
    My Commission expires: ‘- 26^ ---2 ° 2 2




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